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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DEBORAH THOMAS,
                                                           Case No. 15-13157
         Plaintiff,
                                                           Honorable John Corbett O’Meara
v.

NEJ PROPERTIES, L.L.C.,

         Defendant.
                                                   /

                                   ORDER OF DISMISSAL

     Counsel for plaintiff Deborah Thomas, deceased, filed Suggestion of Death on October 2,

2015. Pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure,

       If a party dies and the claim is not extinguished, the court may order substitution of
       the proper party. A motion for substitution may be made by any party or by the
       decedent’s successor or representative. If the motion is not made within 90 days
       after service of a statement noting the death, the action by or against the decedent
       must be dismissed.

     To date, no timely motion for substitution has been made. Therefore, it is hereby ORDERED

that this action is DISMISSED.

                                              s/John Corbett O'Meara
                                              United States District Judge
Date: February 17, 2016


      I hereby certify that a copy of the foregoing document was served upon counsel of record on
this date, February 17, 2016, using the ECF system.


                                              s/William Barkholz
                                              Case Manager
